
USCA1 Opinion

	







          September 13, 1995    [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________

          No. 94-1808

                           ARNALDO MORALES-NARVAEZ, ET AL.,
                               Plaintiffs - Appellants,

                                          v.

                              PEDRO J. ROSSELLO, ET AL.,
                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                [Hon. Gilberto Gierbolini, Senior U.S. District Judge]
                                           __________________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                                Lynch,* Circuit Judge,
                                        _____________

                         and Boyle,** Senior District Judge.
                                      _____________________

                                _____________________

               Manuel Alvarado for appellants.
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               Vannessa Ram rez, Assistant Solicitor General, Department of
               ________________
          Justice, with whom Pedro A. Delgado-Hern ndez, Solicitor General,
                             __________________________
          Jos  L. Nieto and Dom nguez &amp; Totti, were on brief for appellees.
          _____________     _________________


                                 ____________________


                                 ____________________
                              
          ____________________

          *  Judge  Lynch replaces  Senior Circuit Judge  Campbell who  has
          recused himself and  has taken  no part in  the consideration  of
          this  case.  Judge Lynch  has participated in  the decision based
          upon the briefs, record, and a recording of the oral argument.

          **  Of the District of Rhode Island, sitting by designation.














                    BOYLE, Senior  District Judge.  This  case concerns the
                    BOYLE, Senior  District Judge
                           ______________________

          transfers of the appellants from their positions in the Contracts

          Office  within the  Office  of the  Governor  of Puerto  Rico  to

          positions in another  department of the  Office of the  Governor.

          The appellants, claiming that the transfers improperly were based

          on their political associations and violated their procedural due

          process rights, moved for a preliminary injunction returning them

          to  their  original  positions.    The  district  court,  without

          conducting  a hearing,  denied the  motion, concluding  that they

          failed  to show both a likelihood of  success on the merits and a

          threat of irreparable harm,  and that the harm caused  by denying

          the  motion  would  not  outweigh  the  potential  harm   to  the

          government of  Puerto Rico  if the  motion were  denied.  852  F.

          Supp. 104, 115-16 (D. P.R. 1994).  Appellants  argue (1) that the

          district court abused its discretion and legally erred by denying

          the  preliminary  injunction, and  (2)  that  the district  court

          should have conducted  an evidentiary hearing before  determining

          the motion.  We conclude that the sparse record did not support a

          preliminary  injunction.    We  do not  reach  appellants'  other

          argument  because the interests of justice would not be served by

          remanding the case for an evidentiary hearing on  the preliminary

          injunction  when  trial on  the merits  should  be imminent.   We

          affirm  the order of  the district  court, anticipating  that the

          matter will be promptly scheduled for a trial on the merits.






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                                    I.  BACKGROUND
                                    I.  BACKGROUND

                    We   briefly   summarize    the   uncontested    facts.

          Appellants,  Arnaldo  Morales-Narvaez  ("Morales"), Rosa  Ortega-

          Torres ("Ortega"), and Isabel Mart nez-Camacho ("Mart nez"), were

          employed  in the Contracts Office at the Executive Mansion of the

          Governor  of Puerto  Rico.   Morales was  employed as  a contract

          analyst, and  Ortega and  Mart nez were employed  as secretaries.

          The three  appellants were  supporters of the  Popular Democratic

          Party ("PDP").

                    In  November  1992, the  New Progressive  Party ("NPP")

          defeated   the  PDP   in   the  general   election.     The   NPP

          administration,  and the  appellee NPP  administration officials,

          assumed office in January  1993.  In March 1993,  appellants were

          notified  that they  were  being transferred  from the  Contracts

          Office to another division  of the Office of the  Governor, known

          as Programa RED ("RED").

                    Appellants  commenced  this action  under 28  U.S.C.   

          1983, 1985, and  1986.  In support of their  claims under   1983,

          appellants  asserted  they  were  transferred  because  of  their

          association  with PDP,  in violation  of their  rights under  the

          First and Fourteenth Amendments to the Constitution of the United

          States.  They  further asserted that  the circumstances of  their

          transfers  violated   their   procedural  due   process   rights.

          Appellants moved the court  for a preliminary injunction, seeking

          return  to  their  former   positions.    Briefs  and  supporting




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          documents  were filed in support  of their motion.   Appellees in

          turn filed opposing memoranda and supporting documents.

                    The district court issued its Opinion and Order  on May

          16, 1994, denying appellants'  motion.  The court's determination

          was based primarily on its  conclusion that appellants failed  to

          show  both a likelihood of success  on the merits of their claims

          and a  threat of irreparable harm.   See 852 F.  Supp. at 110-12,
                                               ___

          114-15.

                                   II.  DISCUSSION
                                   II.  DISCUSSION

          A.  The   1983 Claims
          A.  The   1983 Claims
              _________________

                    We   first  address   appellants'  argument   that  the

          preliminary injunction  should issue because  the district  court

          abused its discretion and  legally erred.  We are not prepared to

          say that appellants were entitled to a  preliminary injunction on

          the basis of the record.   In particular, we note that the record

          does  not  support  a  finding  of   irreparable  harm.    First,

          appellants failed to submit job descriptions so that the district

          court could determine  the magnitude  of the harm  they claim  to

          have suffered from  their transfers to new jobs at  the same pay.

          Second, appellants waited  to file their complaint  until July 6,

          1993, more  than three months  after the  transfers took  effect,

          thereby  undercutting the  claimed  irreparable  nature of  their

          injury.   The district  court determined that  plaintiffs' injury

          was  not irreparable,  in part,  because plaintiffs did  not show

          that their new jobs were unreasonably inferior to the old jobs.




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                    Furthermore, the  district court noted how  the absence

          of evidence on the job  descriptions in particular made difficult

          the determination of the issues relating to the appellants' claim

          for  a preliminary injunction.   It said:   "[t]he absence in the

          record  of  detailed  job  descriptions hampers  our  ability  to

          explore the details of the [appellants'] duties," 852 F. Supp. at

          109; "the question remains  whether the contract analyst position

          as newly  reconstituted is a career  position[;] [a]gain, neither

          party has addressed  this issue," id. at  110 (emphasis omitted);
                                            __

          "the proper inquiry is whether the position in question places an

          employee  intrinsically,  not  incidentally,  in  a  confidential

          position[;]  . . .   [the  court  was  not   provided  with]  job

          descriptions detailing [appellants'] duties  and responsibilities

          to  allow [it] to  determine if they  involved partisan political

          concerns so  that political  affiliation would be  an appropriate

          job requirement," id. at 111.
                            __

                    Section 1983  actions  concerning transfers  of  public

          employees  on  the  basis  of their  political  affiliations  are

          especially   dependent   on   detailed   factual   determinations

          concerning claimants' job  responsibilities.  See,  e.g., M ndez-
                                                        ___   ____  _______

          Palou  v. Rohena-Betancourt,  813  F.2d 1255,  1260-62 (1st  Cir.
          _____     _________________

          1987); Collazo Rivera  v. Torres Gaztambide, 812 F.2d 258, 261-62
                 ______________     _________________

          (1st Cir. 1987); Jim nez Fuentes  v. Torres Gaztambide, 807  F.2d
                           _______________     _________________

          236,  243-44 (1st Cir. 1986), cert. denied, 481 U.S. 1014 (1987).
                                        ____________

          Appellants assert  that  producing detailed  job descriptions  is

          appellees' burden; appellees assert it is appellants' burden.  We


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          need  not  decide  this  issue  in  the  aftermath  of  Rutan  v.
                                                                  _____

          Republican  Party of  Illinois,  497 U.S.  62  (1990), given  our
          ______________________________

          disposition of this matter.

                    Appellants'  other argument is  that the district court

          should have  afforded them  an evidentiary hearing  before making

          its determination.  We do not reach this issue because we believe

          that the interests of  justice do not justify remanding  the case

          for an evidentiary  hearing.  The papers supporting  and opposing

          the preliminary  injunction had been  filed by October  22, 1993,

          the district court  issued its order on May 16, 1994, and fifteen

          months have passed  in the  interim.  Because  the judge  ordered

          expedited discovery,  such discovery  should have taken  place by

          now and the matter should be at or near trial on the merits.

                    If a  trial  or other  final disposition  is indeed  in

          prospect, diverting efforts to a new preliminary proceeding could

          disserve the interests of both sides in an expeditious resolution

          and  could  needlessly  waste   judicial  resources.    In  these

          circumstances, we  think that  the district court  may reasonably

          insist that  the parties  proceed  promptly to  trial instead  of

          revisiting the preliminary injunction.

          B.  The    1985 and 1986 Claims
          B.  The    1985 and 1986 Claims
              ___________________________

                    The district court  determined that appellants'  claims

          under  28 U.S.C.     1985 and 1986  were without merit,  and that

          appellants were  therefore unable to show a likelihood of success

          on  the merits as to those  claims.  See 852  F. Supp. at 114-15.
                                               ___

          Appellants do not contest this determination, and it is affirmed.


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                                   III.  CONCLUSION
                                   III.  CONCLUSION

                    The district court's Order and Opinion is affirmed.
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